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                                                        slm lFllley,CA 93065
                                                      tizelliezooo@ vahoo.com

 Januaw 24,2022

 ludgeCetllia M .Altonaga
 ChiefUnitedR atesDistrid Judge
 D uthernDistrld ofFloriW AngelaE.Noble,CourtAdministrator
4* N.Mlam iAvenue8th Floor
 MiamtFk 33128

 Re:Case # 21-CR-20242-AItonaga
THEGENESIS11CHURCHofHEALTHandHEAUNG/BISHOPSMARK,JOSEPH,JONATHAN andIORDAN GRENON
 Em olum entViolatlons;Violation ofTitle 18 ofthe USCode Sec241and242

 DearM adam :

 Thisisagentlereminderof:heinjustite beingperpetrated againstthe'GENESIS11CHURCHofHEALTH and HEALTING and iesBISHOPS,MARK:
 IOSEPH,IONATHAN and IORDAN GRENON.

 TheseBishopshomeswere invaded.Theirsatramentmaterialsweretonfistated.Theirbankaçtountswerefrozen.TheirfamiliesIeftinfear
 andindestitute.TheBlshopsBODIESwerekidnapped,jailed,andsllentedforthebroadtastingoftheirsacramentCHLORINEDIOXIDE.

 ManyPHYSICIANS,SCIENTIST,VIROIDGIST,DOW OR5,LAW YERS,NURSESwiththeirPhD% MF s,and credentlalstogetherwith theirstudies
 show how andwhyMM5(CHLORINEDIOXIDEworksfortherestoratlonofone'shealthandarewilllngtoattendeourtproeeedingsonbehalf
 ofthe GENESIS11CHURCH andtheBISHOPSasw ill1.

JudgeAltonaga,you have taken an oath to support.obey and defend the Constitution ofthe United R atesand wII1notknow lngly reteive,
dlredlyorindlreulw any moneyorothervaluablethlngforthe performanteornonperformanteofany ad orduty pertalningto youroffite-

 Iinvite youto researththe findingsofhow tbissolution hastured many dis-easesofthe body and otherswho willtestifyto the same. So
 m uthso thatthetountryofBollvla hasAPPROVED theuseofthissolutlon asa tureforthe restorationofitspeople'shealth and ature toa
 multi
     tudeofmanyman-madedis-easesofthehumanbody.(seeattathed)

 e.g.:https://www.businessinsider.com/bolivian-senate-annroves-toxic-bleach-as-covid-lg-treatment-zozo-;

 Also,please vlew thlsvldeo on the HistoryofChlorine athttps://theuniversalantidote.com aswellaswateh https://rumble.com/vm8dkf-
 chlorine-dioxide-the-universal-rem edv-that-druc-com panies-hate.htm lsothatyou tan see m anytestimonialson how thlssolutionhasbeen
 a resourte fortherestoration ofthehum an body.

 Thefirstamendmentrightsof''THEGENESIS11CHURCH ofHEALTH and HEALING''and the BISHOPSGRENONS'have been violated.
 ltisyourdutyand responsibility to torred these violations,dismissthistaseand releasethe Grenon'sastheybave been held unjustifiably
 foroveroneyeartodate.Theyhave donenothing wrong.Thesem en are NOTtrim inals. Pleasetonsiderthisand pray'oGOD forW ISDOM ,
 KNOW LEDGEAND UNDERSTANDING todism issthistaseasitisextrem ely im portantinthe eyesofourLORD andSAVIOR.

 Notasingle person washarmed bythe dosing ofthesatramentsofthe G2 CHURCH. ItisImpossible forthe dosing ofthe satram entasitis
 w rittenofthe G2thurthtodo anyphyslologkaldam ageorharm tothe body.Pleaseknow thathereare m anytlinitalstudiestosupportthis
 fad .

 IpraythatyourIegacybethejudgewho upheldthetonstitution againstaIIodds.ThisIprayinthe nameandbloodofJesus.Amen.
 Respettfullyyours
 Elizabeth Lam boy-w l o


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Case 1:21-cr-20242-CMA Document 61 Entered on FLSD Docket 02/04/2022 Page 2 of 7




                       L AW O F O C TO BER 14,2020 N o.1351
                            M O NICA EVA CUP M UR GA
        PR ESID EN T O F TH E PL UR IN AT IO N A L LEG ISLATIV E A SSEM BLY

    lnasm uch as,the PlurinationalLegislativeA ssem bly hasenacted the follow ing Law :
                  TH E PLU R IN ATIO N A L LE G ISLATIV E A SSEM BLY

    D E C REE :

        LAW RE G U LATIN G TH E PR E PA R ATIO N ,C O M M ER C IA LIZATIO N ,
       SU PPLY A N D C O N SEN TED U SE O F CH LO RIN E D IO X ID E SO LU TIO N
     (CDS)AS A PREVENTIVE AND TREATM ENT FO R TH E CO RONAVIRUS
                        PANDEM IC (COVID-19)

    ARTICLE 1.(PURPOSEI.TIZepurposeofthisLaw istoexceptionallyregulatethe
    elaboration,com m ercialization,supply,adm inistration and consented use ofChlorine
    D ioxide Solution,in a preventive m anner and as a treatm entforpatientsdiagnosed
    with Coronavirus(COVID-19).


    ARTICLE 2.(DEFINITIONS).Forthe purposesofthe application ofthisLaw,itis
    understood by:
    a)Chlorine Dioxide Solution (CDS).ChlorineDioxide (C1O2)isagaseouschemical
    compound asaresultofthe mixture ofthe precursorsSodium Chlorite (NaClO2)
    activated with HydrochloricAcid (HC1),CitricAcid (C6H8O7)orelectrolysis.
    b)Chem icalPrecursor.Itisan essentialornecessary substanceto produce anotherby
    m eansofthe chem icalcom poundsthatconstitute a tirststage in a chem icalprocess
    w hich acts asa substrate in the laterstages.
    c)Prospectus.Documentthatincludesthemaincharacteristicsofacompound,such as
    com position,indications,dosage,precautions and in generala11the necessary
    inform ation to m ake correctuse ofit.
    d)Dose.Theeffectiveam ountofactiveingredientofa compound,expressed in units
    ofvolum e orw eightperunitofintake depending on the presentation,thatis
    adm inistered to produce a pharm acologicalaction oreffect.
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    ARTICLE 3.(PREPARATION).Public orprivate laboratolies,accredited and
    authorized by the com petentgoverning body,m ay elaborate Chlorine D ioxide
    Solution,and they m ustcom ply w ith the quality conditionsand include the final
    productprospectus thatprove the com position,dosage,precautions and care w hen
    consum ing thiscom pound.


    ARTICLE 4.(CO>        ERCIALIZATION OF CHLO RINE DIOXD E
   SO LU TIO N .Com m ercialization ofChlorine D ioxide Solution,m ustbe canied out
   w ith indications ofuse and detailsofitsdosage by:
    a)Laboratoliesoruniversities,to the governmentofthecentrallevel,depm m ental
    governm ents,m unicipalgovernm ents,pharm acies and legally established clinics.
   b)Pharm acieslegally established,w ithoutthe need foram edicalprescription and
    w ith the fullagreem entofthe buyer.



   ARTICLE 5.(SUPPLY).The autonomousdepartmentaland municipalgovernments
    m ustguarantee the supply in the public health sub-sectorofChlorine D ioxide
    Solution,asa consented alternative m ethod forthe treatm entofC oronavirus
    (COVlD-19).


   ARTICLE 6.(ADM INISTRATION).M edicalprofessionalsmayadministerthe
   Chlorine D ioxide Solution,w ith the inform ed consentofthe patientor a fam ily
   m em ber,in accordance w ith the stipulated protocols.


   ARTICLE 7.(USE).The citizens,residentsand inhabitantsofthe Bolivianterritory,
   m ay use Chlorine D ioxide Solution as an alternative m ethod to preventortreatthe
   infection and consequencescaused bytheCoronavirus(COV1D-19).


   ARTICLE 8.(COM M UNICATION AND DISSEM INATION).Executive Body of
   the centralstate level,in coordination w ith the A utonom ousTenitorialEntities,are
   resyonsibleforcanyingoutdissemination campaignson theconsented,responsible,
Case 1:21-cr-20242-CMA Document 61 Entered on FLSD Docket 02/04/2022 Page 4 of 7




    ARTICLE 9.(EXCEPTIONAL TARIFF SYSTEM ).Fortheduration ofthe
    Coronaviruspandemic(COVlD-19),thepaymentofcustomsdutiesisreleasedonthe
    importation ofSodium Chlorite (NaC1O2),asaprecursorofChlorine Dioxide
    Solution.



    ARTICLE 10.(RESPONSIBILITIES).
    1.The follow ing responsibilitiesare determ ined:
    1.The centrallevelofthe State,through the M inistry ofH ea1th,w illbe responsible
    for:
    a)Supervisetheelaboration and com mercialization ofChlorineD ioxide Solution for
    preventive or alternative therapeutic use forthe treatm entofC oronavirus
    (COVID-19).
    b)Carry outresponsible and adequate inform ation campaignson the consented and
    responsible use ofChlorine D ioxide Solution.
    2.The autonom ous departm entaland m unicipalgovernm ents,within the fram ework
    oftheirpow ers,willbe responsible for:
    a)Carrying outinfonnation campaignson theuse oftheresponsible and appropriate
    Chlorine D ioxide Solution.
    b)AcquireChlorineDioxide Solution from certified and authorized universitiesor
    public and private laboratories.
    c)Provide freeChlorineDioxide Solution to health establishm entsasam eansof
    prevention and altem ative treatmentofCoronavil'us(COVlD-19).

   II.The autonom ous departm entaland m unicipalgovernm ents m ay sign agreem ents
   w ith the universities ofthe Bolivian U niversity System ,forthe acquisition ofthe
   Chlorine D ioxide Solution,in orderto prom ote,in thisw ay,research in H igher
   Education Institutions.



    ARTICLE 11.(FINANCING ).TheExecutiveBranch ofthecentrallevelofthe State
    and the autonom ous tenitorialentities.according to theirattributions and pow ers,
    m ustconsiderthe follow ing sourcesoffinancing forfree distribution:
    a)Resourceswithin thefram ework ofLaw No.602ofNovember 14,2014,on Risk
    M anayement.
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                                                            TR A N SITIO N A L PR O V ISIO N

   UNIQUE.ThisLaw willberegulatedbytheExecutiveBranch,through Supreme
   Decree,within a period offive(5)businessdays,computable asofitspublication date
   in the O fficialG azette ofBolivia.

   R efer to the Executive Branch forconstitutionalpurposes.

   Itisgiven in the H allofSessionsofthe PlurinationalLegislative A ssem bly,on the
   fifth day ofthe m onth ofA ugustofthe yeartw o thousand twenty.




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  Therefore,in exercise ofthe pow erconferred in num eral12,A rticle 163 ofthe
  PoliticalConstitution ofthe State,Ipromulgate itso thatitisupheld and enforced asa
  Law ofthe PlurinationalState ofBolivia.
  Legislative Palace,on the fourteenth day ofO ctober 2020.




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     PRESIDENT IN EXERCISE OF THE PLURINATIONAL LEGISLATIVE ASSEM BLY
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